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                               IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF ARKANSAS
                                         CENTRAL DIVISION

TICHINA S. TAYLOR                                                                             PLAINTIFF

v.                                        Case No. 4:22-CV-295-LPR

METHODIST FAMILY HEALTH INC.                                                               DEFENDANT

                                                     ORDER

                Plaintiff Tichina S. Taylor, proceeding pro se, filed this disability-discrimination case on

March 31, 2022.1 Defendant Methodist Family Health, Inc. filed a Motion to Dismiss on June 14,

2022.2 On January 6, 2023, after reviewing Plaintiff’s Complaint and Defendant’s Motion to

Dismiss, the Court entered an Order that identified some deficiencies with the Complaint.3 The

Court gave Ms. Taylor forty-five days from the date of that Order to file an Amended Complaint

that cured those deficiencies.

            The Court specifically instructed Ms. Taylor to: (1) clarify whether she is bringing a claim

under Title VII, the Americans with Disabilities Act, or any other federal statute;4 (2) change the

Defendant’s name from “Methodist Behavior Hospital” to “Methodist Family Health, Inc.”5; (3)

clearly and plausibly allege that Defendant “has fifteen or more employees and has employed that

many people for each working day in each of 20 or more calendar weeks in the current or preceding

calendar year”6; and (4) clearly and plausibly allege whether Defendant was her employer.7



1
    Compl. (Doc. 2).
2
    Def.’s Mot. to Dismiss (Doc. 9).
3
    Order (Doc. 14).
4
    Id. at 3 n.21.
5
    Id. at 4.
6
    Id. at 5.
7
    Id. at 5 n. 32.
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Additionally, the Court warned Ms. Taylor that “her Amended Complaint will supersede and

completely nullify her current Complaint. That means she must include any and all factual

allegations in the Amended Complaint that she wants the Court to consider.”8

            Ms. Taylor filed her Amended Complaint on January 27, 2023.9                       In the Amended

Complaint, Ms. Taylor substantively (and for the most part sufficiently) addressed all of the

specific deficiencies identified by the Court in its January 6, 2023 Order.10 But she created a new

problem by ignoring the Court’s warning about the amendment process. Ms. Taylor’s Amended

Complaint is roughly three-quarters of a page; her original Complaint was twelve pages. So,

despite the Court’s clear instruction, it appears she did not “include any and all factual allegations

in the Amended Complaint that she wants the Court to consider.”11 The Court again stresses that

filing an Amended Complaint nullified Ms. Taylor’s original Complaint and all of the allegations

within the original Complaint. Right now, the Court can consider only the allegations contained

within the three-quarter page Amended Complaint.

            The Court is skeptical that Ms. Taylor intentionally abandoned all of the information in her

original twelve-page Complaint. Instead, it appears that Ms. Taylor mistakenly believed that the

Court would consider the original Complaint along with the new three-quarter page Amended

Complaint. Out of an abundance of leniency for Ms. Taylor, who is representing herself, the Court

will give her until close of business on Tuesday, February 28, 2023, to file another Amended

Complaint. Ms. Taylor must understand that she needs to provide every piece of information



8
    Id. at 8.
9
    Am. Compl. (Doc. 15).
10
  Ms. Taylor’s attempt to allege that that Defendant has fifteen or more employees and has employed that many
people for each working day in each of twenty or more calendar weeks in the current or preceding calendar year comes
up a bit short. She merely alleges that Defendant currently “employs approximately 2,148 employees . . . .” Id.
11
     Order (Doc. 14) at 8.

                                                         2
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that she wants the Court to consider in the new Amended Complaint. That means everything

from her initial Complaint that she wants the Court to consider plus everything from her

three-quarter page “Amendment” that she also wants the Court to consider. All that

information must be in one combined document, properly organized, and set forth as a whole

new “Second Amended Complaint.” This is Ms. Taylor’s last chance to properly file an

Amended Complaint.

      IT IS SO ORDERED this 8th day of February 2023.



                                                ________________________________
                                                LEE P. RUDOFSKY
                                                UNITED STATES DISTRICT JUDGE




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